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                              Certificate of Service Page 1 of 1



                                 CERTIFICATE OF SERVICE

        I hereby certify that a true copy of the within Final Decree was mailed, postage prepaid
or via electronic mail, to the following this 31st day of October, 2011.

Gary Donahue           ustpregion01.pr.ecf@usdoj.gov

Rockland Trust
c/o Raymond Pelote, Esq.
Wynn & Wynn, P.C.
90 New State Highway
Raynham, MA 02767

Providence Economic Development
c/o Josh Teverow, Esq.
55 Pine Street, Suite 2
Providence, RI 02903

Providence Economic Development
Department of Planning & Development
400 Westminster Street
Providence, RI 02903

City of Providence
Tax Assessor’s Office
25 Dorrance Street, Unit 1
Providence, RI 02903

Narragansett Bay Commission
One Service Road
Providence, RI 02905

Steven Nappa
469 Washington Street
Providence, RI 02903

National Grid-Gas
P.O. Box 1048
Woburn, MA 01807

Providence Water
P.O. Box 1456
Providence, RI 02901

                                                   /s/ Peter J. Furness, Esq.
